                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

KARY BRINSON,
          Plaintiff,
                                          Case Number 3:12-cv-00169 JWS
v.

BANK OF AMERICA, N.A., a
limited partnership,
          Defendant.                      JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

           IT IS ORDERED AND ADJUDGED:

           THAT Defendant's Motion to Dismiss is GRANTED.


APPROVED:


   s/ JOHN W. SEDWICK
 United States District Judge
 ____________________________
 Date: January 15, 2013
 N OTE : Award of prejudgment interest,
 costs and attorney's fees are governed          Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                 Clerk of Court




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